        Case 2:18-cr-00101-GEKP Document 450 Filed 08/11/22 Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT

                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                                :

       v.                                               :        CR. NO. 18-101-11

NEIL CUTLER                                             :


                 GOVERNMENT'S MOTION TO DISMISS INDICTMENT

               The United States of America, by its attorneys, Jacqueline C. Romero, United

States Attorney for the Eastern District of Pennsylvania, and Christopher E. Parisi, Assistant

United States Attorney for the district, pursuant to Rule 48(a) of the Federal Rules of Criminal

Procedure, moves this Court to dismiss the Indictment, only against the above-named defendant,

and in support of its motion states:

               1.      On January 9, 2019, the Grand Jury issued a superseding indictment

charging defendant Neil Cutler with one count of maintaining a drug involved premises, and

aiding and abetting, in violation of 21 U.S.C. § 856.

               2.      These charges related to Cutler’s participation in the illegal dispensing of

prescription medication from Advanced Urgent Care in Montgomeryville, Pennsylvania.

Between January 2014 and August 2017, Cutler is alleged to have unlawfully distributed

oxycodone and methadone, among other controlled substances.

               3.      Following the indictment, the government was advised by defense counsel

that Cutler suffers from dementia and other health issues. Upon request of the government,

Cutler’s counsel provided the government with documentation from an assisted living and


                                              - 1 -
        Case 2:18-cr-00101-GEKP Document 450 Filed 08/11/22 Page 2 of 4




memory care facility where Cutler resides. The records reflect that Cutler has dementia, was

recently hospitalized, and needs full-time care to assist him in daily tasks.

               4.         Cutler’s medical prognosis is poor. He is unable to care for himself,

unable to travel, and cannot assist counsel in the preparation of a defense at trial.

               5.         The government notes that the defendant is 80 years old, and he has no

prior criminal history.

               6.         Under the unique circumstances of this case, the government submits that

proceeding with the charges against the defendant is not in the best interests of justice.

               WHEREFORE, the government respectfully requests that the Court dismiss the

Indictment, only against this defendant, without prejudice.

                                         Respectfully submitted,




                                         JACQUELINE C. ROMERO
                                         United States Attorney


                                         s/Christopher E. Parisi
                                         CHRISTOPHER E. PARISI
                                         Assistant United States Attorney


Dated: August 11, 2022




                                                 - 2 -
        Case 2:18-cr-00101-GEKP Document 450 Filed 08/11/22 Page 3 of 4




                       IN THE UNITED STATES DISTRICT COURT


                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                                    :

               v.                                           :       CR. NO.     18-101

NEIL CUTLER                                                 :



                                           ORDER

               AND NOW, this _____       day of _____________, 2022, upon consideration of the

Government's Motion to Dismiss the Indictment, it is hereby

                                           ORDERED

that the Indictment issued at Criminal No. 18-101 is dismissed, only as to this defendant, without

prejudice.

                                             BY THE COURT:




                                             HON. GENE E.K. PRATTER
                                             Judge, United States District Court




                                              - 3 -
        Case 2:18-cr-00101-GEKP Document 450 Filed 08/11/22 Page 4 of 4




                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing has been served by ECF or

electronic mail upon Counsel of record.



                                                      /s/ Christopher E. Parisi
                                                     Christopher E. Parisi
                                                     Assistant United States Attorney


Date: August 11, 2022




                                             - 4 -
